                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


JAMESETTA MCFARLAND-LAWSON,

                           Plaintiff,

             v.                                        Case No. 16-CV-685

MARCIA FUDGE,
SECRETARY OF HOUSING AND URBAN DEVELOPMENT,

                           Defendant.


                                        ORDER


      On December 2, 2021, the court held a telephonic hearing to discuss how this

case will proceed. The new schedule is as follows: The defendant shall look for

handwritten notes that Maury McGough took at meetings regarding the plaintiff. If the

defendant finds those notes, she will provide them to the plaintiff in hard copy form no

later than December 10, 2021. If the defendant does not find those notes, she will notify

the plaintiff of their nonexistence no later than December 10, 2021.

      The plaintiff shall respond to defendant’s motion for summary judgment (ECF

No. 170) no later than January 10, 2022. In her response, plaintiff should be sure to




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respond to each of the defendant’s proposed findings of fact. (See ECF No. 172.)

Defendant may file a reply no later than January 24, 2022.

      If the court denies the motion, it will consider plaintiff’s September 29, 2021

motion to compel. (ECF No. 169.)

      Dated at Milwaukee, Wisconsin this 2nd day of December, 2021.



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                                               WILLIAM E. DUFFIN
                                               U.S. Magistrate Judge




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